
243 P.3d 138 (2010)
238 Or. App. 750
STATE of Oregon, Plaintiff-Respondent,
v.
Frank Darrel EDENBURN, Sr., Defendant-Appellant.
08C49021; A143155.
Court of Appeals of Oregon.
Submitted October 1, 2010.
Decided November 17, 2010.
Peter Gartlan, Chief Defender, and Ingrid A. MacFarlane, Deputy Public Defender, Office of Public Defense Services, filed the brief for appellant.
John R. Kroger, Attorney General, Mary H. Williams, Solicitor General, and Cecil A. Reniche-Smith, Assistant Attorney General, filed the brief for respondent.
Before SCHUMAN, Presiding Judge, and WOLLHEIM, Judge, and ROSENBLUM, Judge.
PER CURIAM.
Defendant, who was convicted of a number of crimes, seeks reversal of his convictions on two counts of aggravated first-degree theft, ORS 164.057, asserting that the state failed to present evidence sufficient to support convictions on those counts. The state concedes that the evidence was insufficient and that defendant's convictions for aggravated first-degree theft should be reversed. We agree, accept the concession, reverse those convictions, and, pursuant to ORS 138.222(5)(b), remand the case for resentencing.
Convictions for aggravated first-degree theft reversed; remanded for resentencing; otherwise affirmed.
